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__________________________________________________________________
                                              SO ORDERED,



                                             Judge Neil P. Olack
                                             United States Bankruptcy Judge
                                             Date Signed: July 8, 2019

              The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________
                   UNITED STATES BANKRUPTCY COURT FOR THE
                       SOUTHERN DISTRICT OF MISSISSIPPI

In re: Jessie Bernard                                                            CHAPTER 13
        Debtor                                                          CASE NO. 19-01861-NPO

                 AGREED ORDER ON OBJECTION TO PLAN [Dkt #21]

       CAME BEFORE THIS COURT on Objection of Specialized Loan Servicing LLC as

servicing agent for Deutsche Bank National Trust Company, as Trustee for HIS Asset

Securitization Corporation Trust 2006-WMC1, Mortgage Pass-Through Certificates, Series

2006-WMC1 (“Objector”) to the Chapter 13 Plan, and the Court being fully advised in the

premises and based upon the agreement of the parties, does hereby find that the parties agree as

follows:

       1.      That Objector holds a claim against Debtor, which is secured by certain real estate

located at 5590 Nailor Road, Vicksburg, MS 39180 (“Property”).

       2.      That the parties have agreed to amend the proposed payment of arrears from

$12,000.00 to $14,827.69.

       3.      That the parties have agreed to amend the proposed payment of post-petition

payments from $1,300.00 to $1,338.54.

       IT IS THEREFORE ORDERED AND ADJUDGED that the payment of arrears which

Objector has a claim as shown in the Debtor’s Chapter 13 Plan shall be amended from

$12,000.00 to $14,827.69.
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       IT IS THEREFORE ORDERED AND ADJUDGED that the payment of post-petition

payments which Objector has a claim as shown in the Debtor’s Chapter 13 Plan shall be

amended from $1,300.00 to $1,338.54.

       IT IS FURTHER ORDERED AND ADJUDGED that any other figures requiring

adjustment as a result of this amendment shall be adjusted accordingly.

                                    ##END OF ORDER##


Submitted by:
Charles Frank Fair Barbour, MSB # 99520
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& WILSON, P.A.
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AGREED AND APPROVED
AS TO FORM


/s/ Charles Frank Fair Barbour
Charles Frank Fair Barbour
Attorney for Objector


/s/ Robert Rex McRaney, Jr. (w/permission CB)
Robert Rex McRaney, Jr.
Attorney for Debtor


/s/ Justin Jones /for (w/permission CB)
Harold J. Barkley, Jr.
Chapter 13 Trustee




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